
181 U.S. 183 (1901)
LYNDE
v.
LYNDE.
LYNDE
v.
LYNDE.
Nos. 305, 369.
Supreme Court of United States.
Submitted November 5, 1900.
Decided April 15, 1901.
ERROR TO THE SUPREME COURT OF THE STATE OF NEW YORK.
*186 Mr. George S. Ingraham for Charles W. Lynde.
Mr. James Westervelt and Mr. Matthew C. Fleming for Mary W. Lynde.
MR. JUSTICE GRAY, after stating the case as above, delivered the opinion of the court.
The husband, as the record shows, having appeared generally in answer to the petition for alimony in the Court of Chancery in New Jersey, the decree of that court for alimony was binding upon him. Laing v. Rigney, 160 U.S. 531. The court of New York having so ruled, thereby deciding in favor of the full faith and credit claimed for that decree under the Constitution and laws of the United States, its judgment on that question cannot be reviewed by this court on writ of error. Gordon v. Caldcleugh, 3 Cranch, 268; Missouri v. Andriano, 138 U.S. 496. The husband having appeared and been heard in the proceeding for alimony, there is no color for his present contention that he was deprived of his property without due process of law. Nor does he appear to have made any such contention in the courts of the State. His writ of error, therefore, must be dismissed.
By the Constitution and the act of Congress, requiring the faith and credit to be given to a judgment of the court of another *187 State that it has in the State where it was rendered, it was long ago declared by this court: "The judgment is made a debt of record, not examinable upon its merits; but it does not carry with it, into another State, the efficacy of a judgment upon property or persons, to be enforced by execution. To give it the force of a judgment in another State, it must be made a judgment there; and can only be executed in the latter as its laws may permit." McElmoyle v. Cohen, 13 Pet. 312, 325; Thompson v. Whitman, 18 Wall. 457, 463; Wisconsin v. Pelican Ins. Co., 127 U.S. 265, 292; Bullock v. Bullock, 6 Dickinson (51 N.J. Eq.) 444, and 7 Dickinson (52 N.J. Eq.) 561.
The decree of the Court of Chancery of New Jersey, on which this suit is brought, provides, first, for the payment of $7840 for alimony already due, and $1000 counsel fee; second, for the payment of alimony since the date of the decree at the rate of $80 per week; and third, for the giving of a bond to secure the payment of these sums, and, on default of payment or of giving bond, for leave to apply for a writ of sequestration, or a receiver and injunction.
The decree for the payment of $8840 was for a fixed sum already due, and the judgment of the court below was properly restricted to that. The provision of the payment for alimony in the future was subject to the discretion of the Court of Chancery of New Jersey, which might at any time alter it, and was not a final judgment for a fixed sum. The provisions for bond, sequestration, receiver and injunction, being in the nature of execution, and not of judgment, could have no extra-territorial operation; but the action of the courts of New York in these respects depended on the local statutes and practice of the State, and involved no Federal question.
On the writ of error of the wife, therefore,
The judgment is affirmed.
